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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                         }
                                                               }        Chapter 11
                                              1
THE BON-TON STORES, INC., et al                                }
                                                               }        Case No. 18-10248
         Debtor                                                }
                                                               }
                                                               }

               ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

         Upon consideration of the Motion for Relief From Automatic Stay Pursuant to 11 U.S.C.
§362(d) (hereafter the “Motion) file by Delores Sim (the “Movant”), and the Court having
jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. §157
and §1334; and consideration of the Motion being a core proceeding pursuant to 28 U.S.C.
§157(b); and venue being proper in this Court pursuant to 28 U.S.C. §1408 and §1409; abd it
appearing that no other or further notice need be provided; and after considering objections to the
Motion, if any; and after due deliberation and sufficient cause appearing therefore, it is hereby
ORDERED that:
         1. The Motion is Granted, as set forth herein.

         2. The Automatic Stay is lifted for the sole purpose of allowing the Movant to prosecute
             and liquidate her claim by either litigation, settlement ADR, trial or any other means
             against the Debtor in the Civil Action in the New York State Supreme Court, County
             of Erie, State of New York, assigned Index Number 805904/2017 (the “Civil
             Action”) to pursue recovery solely against the proceeds of the applicable insurance
             coverage (the “Insurance Proceeds”) available to the Debtors under the applicable
             insurance policy(the “Insurance Policy”). The Movant may further prosecute or
             defend any resulting appeal(s), and enforce any judgment solely against the Insurance
             Proceeds.
1 The Chapter 11 Debtors are, along with the last four digits of each Debtor’s Federal Tax Identification number, as
follows: The Bon-Ton Stores, Inc. (5229); The Bon-Ton Department Stores, Inc. (9309); The Bon-Ton Giftco, LLC
(2805); Carson Pirie Scott II, Inc. (2140); Bon-Ton Distribution, LLC (5855); McRIL, LLC (5548); Bonstores Holdings
One, LLC (8574); Bonstores Realty One, LLC (8931); Bonstores Holdings Two, LLC (8775); and Bonstores Realty
Two, LLC (9075). The headquarters for the above-captioned Debtors is 2801 East Market Street, Bldg. E, York,
Pennsylvania 17402.
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   Notwithstanding the foregoing, in the event the Insurance Policy is unavailable, in
   whole or in part, to the Movant due to coverage terms, or exclusions, or coverage
   limits, or any other reason, then the Movant shall have the right to file a claim against
   the Debtors, or their estates, limited to that portion of the claim not satisfied by the
   Insurance Policy. In such event, the Automatic Stay pursuant to section 362 of the
   Bankruptcy Code shall be reinstated in full effect with respect to the Civil Action
   without prejudice to the Movant’s right to file a new motion for relief from the
   Automatic Stay. Any claim filed in these bankruptcy cases by the Movant in
   accordance with this Order shall have no greater or lesser right than other similarly
   situated creditors. Likewise, if such claim is filed, the Debtors and their estates retain
   their right to raise any and all defenses or counterclaims to that claim. For the
   avoidance of doubt, nothing contained herein is intended to excuse the Movant's
   obligation to comply with claim filing deadlines established by this Court.

3. Except as otherwise provided in paragraph 2 herein, the Movant waives the right to
   seek satisfaction of, and shall be permanently enjoined from seeking payment of, any
   judgment, award, settlement, claim, distribution or any other payment amount
   resulting from or in connection with the Civil Action or on account of any other
   claims against any of the Debtors and the Debtors’ estates, including, without
   limitation, seeking payment of any judgment, award, settlement, claim, distribution or
   any other payment from the Debtors and the Debtors’ estates in the event insurance
   coverage is denied under the applicable Insurance Policy by the respective insurers or
   underwriters.

4. Except as otherwise set forth herein, nothing in this Order shall impair, modify, limit,
   or expand the rights and duties of (i) Movant; (ii) the Debtors, including without
   limitation, the Debtors; rights or obligations, if any, under the applicable Insurance
   Policy, including the Debtors’ obligations to satisfy any amounts due and owing
   under the applicable Insurance Policy; and (iii) the insurer in connection with the
   applicable Insurance Policy.

5. The Automatic Stay shall otherwise remain in full effect.
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6. Nothing herein is intended to or shall be deemed to be a stipulation, agreement,
   warranty, or admission, by the Debtors or their estates that (i) the Debtors or their
   estates are liable to the Movants for any amounts or (ii) any cause of action, claims,
   or damages alleged in the Civil Action are covered in whole or in part under any of
   the Debtors insurance policies. For the avoidance of doubt, nothing herein is intended
   or shall be deemed to alter in an way the rights, duties, obligations, terms, conditions,
   or provisions under the Debtors’ applicable Insurance Policy.

7. This Court shall retain jurisdiction over any and all issues arising from or related to
   the implementation and interpretation of this Order.




Dated: September 25th, 2018
Wilmington, Delaware                           MARY F. WALRATH
                                               UNITED STATES BANKRUPTCY JUDGE
